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                     EXHIBIT A
Case 1:18-cv-20818-DPG Document 158-1 Entered on FLSD Docket 03/26/2018 Page 2 of 8




    From: Michael Kelso [mailto:MKelso@susmangodfrey.com]
    Sent: Tuesday, March 20, 2018 7:36 PM
    To: Steven W. Davis <SDavis@BSFLLP.com>; Swerdloff, Nicolas
    <nicolas.swerdloff@hugheshubbard.com>
    Cc: Goldberg, Jeffrey B. <jeffrey.goldberg@hugheshubbard.com>; Alexander L. Kaplan
    <akaplan@SusmanGodfrey.com>; Stephen N. Zack <SZack@BSFLLP.com>; George Carpinello
    <gcarpinello@BSFLLP.com>; David Boies <DBoies@BSFLLP.com>; Neal S. Manne
    <NMANNE@SusmanGodfrey.com>; Gerald Greenberg <GGreenberg@gsgpa.com>
    Subject: RE: 2018-03-15 Proposed Agreed Order to Preserve Evidence -


    Steve:
     
    I’m following up on the issue below.  Do you have any response or comments
    to our proposal?
     
    Two other related issues.  First, it is our understanding that while service by
    mail may be allowed under the Hague Convention absent an objection by a
    signatory, the acceptability of service by courier (such as FedEx) depends on
    the laws of the country at issue as well.  What was PDVSA Trust’s basis for
    believing that service by FedEx on VEBL is permissible under both the Hague
    Convention and the laws of Bermuda?
     
    Nevertheless, we will agree not to contest service on VEBL, however, if we can
    reach agreement on an extension of time for Vitol Inc., Vitol Energy Bermuda
    Ltd., and Tony Maarraoui to respond to the complaint.  We would like 30 days
    from the date of any agreement on an extension.  Would PDVSA Trust agree to
Case 1:18-cv-20818-DPG Document 158-1 Entered on FLSD Docket 03/26/2018 Page 3 of 8


    this extension?
     
    Best Regards,
    Michael
     
    Michael C. Kelso
    SUSMAN GODFREY LLP
    mkelso@susmangodfrey.com
    Office  713 653 7887
    Cell  925 872 2345
     
    From: Steven W. Davis [mailto:SDavis@BSFLLP.com]
    Sent: Friday, March 16, 2018 4:28 PM
    To: Michael Kelso; Swerdloff, Nicolas
    Cc: Goldberg, Jeffrey B.; Alexander L. Kaplan; Stephen N. Zack; George Carpinello; David Boies; Neal S.
    Manne; Gerald Greenberg
    Subject: RE: 2018-03-15 Proposed Agreed Order to Preserve Evidence -

    Thanks Michael.  I will do that.
     
    From: Michael Kelso [mailto:MKelso@susmangodfrey.com]
    Sent: Friday, March 16, 2018 3:22 PM
    To: Steven W. Davis; Swerdloff, Nicolas
    Cc: Goldberg, Jeffrey B.; Alexander L. Kaplan; Stephen N. Zack; George Carpinello; David Boies; Neal
    S. Manne; Gerald Greenberg
    Subject: RE: 2018-03-15 Proposed Agreed Order to Preserve Evidence -

    Steve:
     
    We are fine with an agreed order (subject to the reservation of rights in the
    draft we sent) but we are not agreed to the language in the preservation order
    from this morning.  PDVSA’s proposal is just us agreeing to the TRO language,
    which the Court could have ordered Wednesday but didn’t, instead telling us to
    meet and confer on agreed language.  So far, we have sent PDVSA three
    proposals and PDVSA hasn’t responded with any substantive comments. 
     
    If you need more time to consider and respond substantively to our proposals,
    we have no problem with your advising the Court the parties are discussing the
    issue but have not yet resolved it and that we will get back to the Court next
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    week. 
     
    As with all our communications, this correspondence is subject to and without
    waiver of any defenses or objections, including but not limited to jurisdictional
    defenses and those based on Rule 12 of the FRCP.
     
    Best Regards,
    Michael
     
    Michael C. Kelso
    SUSMAN GODFREY LLP
    mkelso@susmangodfrey.com
    Office  713 653 7887
    Cell  925 872 2345
     
    From: Steven W. Davis [mailto:SDavis@BSFLLP.com]
    Sent: Friday, March 16, 2018 1:26 PM
    To: Swerdloff, Nicolas; Michael Kelso
    Cc: Goldberg, Jeffrey B.; Alexander L. Kaplan; Stephen N. Zack; George Carpinello; David Boies; Neal S.
    Manne; Gerald Greenberg
    Subject: 2018-03-15 Proposed Agreed Order to Preserve Evidence -

    Dear Counsel:
     
    Thank you for your comments. Judge Gayles asked us to submit an Agreed Order and we must
    comply with that direction.  We are agreeable to  a stipulation and order that adopts the language
    by the Court in this morning’s order. We stipulate  that your clients Rule 12 rights are preserved.
      
    If we cannot agree then I will advise the court we are discussing the issue but have not yet resolved
    it and will get back to the Court next week.
     
    Sincerely,

    Steve
     
     
     
     
    From: Swerdloff, Nicolas [mailto:nicolas.swerdloff@hugheshubbard.com]
    Sent: Friday, March 16, 2018 1:43 PM
    To: Michael Kelso
    Cc: Goldberg, Jeffrey B.; Steven W. Davis; Alexander L. Kaplan; Stephen N. Zack; George Carpinello;
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    David Boies; Neal S. Manne; Gerald Greenberg
    Subject: Re: 2018-03-15 Proposed Agreed Order to Preserve Evidence -

    All,

    We are fine with these proposed changes. Thanks.

    Nick


    Nicolas Swerdloff | Partner

    Hughes Hubbard & Reed LLP
    201 South Biscayne Boulevard, Suite 2500 | Miami, FL 33131-4332
    Office +1 (305) 379-5571 | Cell +1 (305) 793-3137 | Fax +1 (305) 351-9771

    One Battery Park Plaza | New York, NY 10004-1482
    Office +1 (212) 837-6167
    nicolas.swerdloff@hugheshubbard.com | bio



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    On Mar 16, 2018, at 1:28 PM, Michael Kelso <MKelso@susmangodfrey.com> wrote:

    All:
     
    Removing the language that ties this to the federal rules is a dealbreaker for
    us.  We have added “comply with the Federal Rules of Civil Procedure and
    other applicable federal law” to address any concerns with our prior
    language.  We want to make sure we all know what we are agreeing to do and
    don’t really see what more anyone could want than for us to agree to comply
    with the rules and law.
     
    Let’s please talk as soon as possible if there are concerns with our changes.  As
    with all our communications, this correspondence is subject to and without
    waiver of any defenses or objections, including but not limited to jurisdictional
    defenses and those based on Rule 12 of the FRCP.
     
    Best Regards,
    Michael
     
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    Michael C. Kelso
    SUSMAN GODFREY LLP
    mkelso@susmangodfrey.com
    Office  713 653 7887
    Cell  925 872 2345
     
    From: Goldberg, Jeffrey B. [mailto:jeffrey.goldberg@hugheshubbard.com]
    Sent: Friday, March 16, 2018 11:33 AM
    To: Steven W. Davis; Swerdloff, Nicolas; Michael Kelso
    Cc: Alexander L. Kaplan; Stephen N. Zack; George Carpinello; David Boies; Neal S. Manne; Gerald
    Greenberg; Goldberg, Jeffrey B.
    Subject: RE: 2018-03-15 Proposed Agreed Order to Preserve Evidence -

    All,
     
    Attached is a version with our edits, which we added to the version Susman circulated earlier.  You’ll
    see that we drafted this to make the language consistent with Rule 26.  We’re happy to join a call to
    discuss sometime this afternoon.
     
    Best,
    Jeff
     
     

    Jeffrey Goldberg | Associate

    Hughes Hubbard & Reed LLP
    201 South Biscayne Boulevard, Suite 2500 | Miami, FL 33131-4332
    Office +1 (305) 379-5573 | Cell +1 (215) 410-0007
    jeffrey.goldberg@hugheshubbard.com | bio



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    From: Steven W. Davis [mailto:SDavis@BSFLLP.com]
    Sent: Friday, March 16, 2018 9:04 AM
    To: Swerdloff, Nicolas <nicolas.swerdloff@hugheshubbard.com>; Michael Kelso
    <MKelso@susmangodfrey.com>
    Cc: Alexander L. Kaplan <akaplan@SusmanGodfrey.com>; Stephen N. Zack <SZack@BSFLLP.com>;
    George Carpinello <gcarpinello@BSFLLP.com>; David Boies <DBoies@BSFLLP.com>; Neal S. Manne
    <NMANNE@SusmanGodfrey.com>; Gerald Greenberg <GGreenberg@gsgpa.com>; Goldberg, Jeffrey
    B. <jeffrey.goldberg@hugheshubbard.com>
    Subject: RE: 2018-03-15 Proposed Agreed Order to Preserve Evidence -

    Safe travels Nick.  
Case 1:18-cv-20818-DPG Document 158-1 Entered on FLSD Docket 03/26/2018 Page 7 of 8


     
    From: Swerdloff, Nicolas [mailto:nicolas.swerdloff@hugheshubbard.com]
    Sent: Friday, March 16, 2018 9:02 AM
    To: Michael Kelso
    Cc: Steven W. Davis; Alexander L. Kaplan; Stephen N. Zack; George Carpinello; David Boies; Neal S.
    Manne; Gerald Greenberg; Goldberg, Jeffrey B.
    Subject: Re: 2018-03-15 Proposed Agreed Order to Preserve Evidence -

    All,

    I’m about to board a plane so have added my colleague Jeff Goldberg, who will pass on any
    comments we have later this morning. Thanks.

    Nick


    Nicolas Swerdloff | Partner

    Hughes Hubbard & Reed LLP
    201 South Biscayne Boulevard, Suite 2500 | Miami, FL 33131-4332
    Office +1 (305) 379-5571 | Cell +1 (305) 793-3137 | Fax +1 (305) 351-9771

    One Battery Park Plaza | New York, NY 10004-1482
    Office +1 (212) 837-6167
    nicolas.swerdloff@hugheshubbard.com | bio



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    On Mar 16, 2018, at 8:23 AM, Michael Kelso <MKelso@susmangodfrey.com> wrote:

    Steve:

    I have attached our redlines to your proposed agreement. We added PDVSA and the plaintiff
    to the agreements on evidence preservation as well.

    Let's please talk as soon as possible if you would like to discuss any of these changes. As with
    all our communications, this correspondence is subject to and without waiver of any defenses
    or objections, including but not limited to jurisdictional defenses and those based on Rule 12
    of the FRCP.

    Best Regards,
    Michael

    Michael C. Kelso
    SUSMAN GODFREY LLP
    mkelso@susmangodfrey.com
    Office 713 653 7887
    Cell 925 872 2345
Case 1:18-cv-20818-DPG Document 158-1 Entered on FLSD Docket 03/26/2018 Page 8 of 8



    -----Original Message-----
    From: Steven W. Davis [mailto:SDavis@BSFLLP.com]
    Sent: Thursday, March 15, 2018 3:08 PM
    To: nicolas.swerdloff@hugheshubbard.com; Michael Kelso
    Cc: Alexander L. Kaplan; Stephen N. Zack; George Carpinello; David Boies
    Subject: 2018-03-15 Proposed Agreed Order to Preserve Evidence -

    Nick and Mike, We attach a proposed agreed order on preserving evidence. Please let us know
    if this is agreeable. I am available to discuss.

    Best, Steve


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